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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             STATESBORO DIVISION


 JEFFREY EDWARD MOSS,

               Plaintiff,                                CIVIL ACTION NO.: 6:I9-cv-20

        V.


 GEORGIA DEPARTMENT OF
                                                                                          CO
                                                                          rn
 CORRECTIONS; FOOD SERVICE                                                                o
 CONTRACTOR FOR GEORGIA                                                  o^—              O'.'
 DEPARTMENT OF CORRECTIONS; and
                                                                                  ro
 JOHN DOE,                                                                                L ,.

                                                                                  ID
               Defendants.                                                        r^o
                                                                                  cn

                                          ORDER

       After an independent and de novo review of the entire record, the undersigned concurs with

the Magistrate Judge’s Report and Recommendation, doc. 25. Plaintiff did not file Objections to

the Report and Recommendation.

       Accordingly, the Court ADOPTS the Magistrate Judge’s Report and Recommendation as

the opinion of the Court. The Court DISMISSES Plaintiffs Complaint, DENIES as moot all

pending Motions, DIRECTS the Clerk of Court to CLOSE this case and enter the appropriate

Judgment of dismissal, and DENIES Plaintiff informa pauperis status on appeal.

       SO ORDERED,this                   of January, 2021.




                                     J.RAK      L HALL,<JHIEF JUDGE
                                     UNIT:^ STATES DISTRICT COURT
                                     ^eUTHERN DISTRICT OF GEORGIA
